  Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 1 of 17




                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION

SECURITIES AND EXCHANGE                  No: 3:18-cv-252
COMMISSION,
                                         Carlton W. Reeves, District Judge
          Plaintiffs,                    F. Keith Ball, Magistrate Judge

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

          Defendants.




                          RECEIVER’S REPORT

                              June 26, 2020




                                        /s/ Alysson Mills
                                 Alysson Mills, Miss. Bar No. 102861
                                 Fishman Haygood, LLP
                                 201 St. Charles Avenue, Suite 4600
                                 New Orleans, Louisiana 70170
                                 Telephone: 504-586-5253
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                                 Receiver for Arthur Lamar Adams and
                                 Madison Timber Properties, LLC
     Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 2 of 17




Introduction

         For many years Arthur Lamar Adams, through his companies Madison Timber Company,
Inc. and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
30, 2018, he was sentenced to 19.5 years in prison.

         On June 22, 2018, the Court appointed me Receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties. Among other things,
the order instructs me to take any action necessary and appropriate to preserve the assets of Adams
and his businesses, to maximize funds available for distributions to victims. I have undertaken
these tasks with substantial assistance from my counsel, including principally Brent Barriere and
Lilli Bass.

         The Court instructed me to file a report of my progress every 60 days. I filed my last report
on April 27, 2020, and this report picks up where that report left off. It contains the following
parts:

                                                                             page
                   Highlights                                                  3
                   Criminal cases’ status                                      4
                   Civil cases’ status                                         4
                   Receiver’s actions (past 60 days and next 60 days)         10
                   Summary of status of assets                                14


         As always, my reports are for the Court’s benefit, but I write them for a broader audience,
knowing that they may be read by non-lawyers including victims.




                                                                                                    2
     Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 3 of 17




Highlights

        These reports can be cumbersome and repetitive. At the suggestion of one reader, I have
attempted to summarize this report’s highlights for those who have neither the time nor desire to
read it in its entirety. In no particular order:

        •    On May 27, 2020, I participated in a settlement conference convened by the Court
             and attended by Baker Donelson, Jon Seawright, and Brent Alexander. It did not
             result in settlement between any parties.

        •    On June 15, 2020, victims received a notice stating that Adams has asked for
             compassionate release. Victims should contact the U.S. Attorney’s Office no later
             than June 29, 2020 to share their opinion.

        •    On June 25, 2020, I filed a complaint against Stuart Anderson, Randy Shell, and Shell
             Investments, LLC that seeks to recover the more than $635,000 in Madison Timber
             “commissions” they received.

        •    I continue to fight any bankruptcy discharge of Bill McHenry’s or Jon Seawright’s
             debts to the Receivership Estate. On June 26, 2020, I filed a motion to hold McHenry
             in contempt for failing to disclose documents pertaining to his finances.

        •    Since my last report, defendants in the Trustmark et al. case filed motions to dismiss
             and to compel arbitration, and I filed responses. Those motions are fully briefed.

        •    In the BankPlus et al. case, Martin Murphree has done something no other defendant
             in any case has done: attempted to voluntarily repay the Receivership Estate without
             any guarantee of a release of any claims against him. I recently have received three
             checks, each in the amount of $800.00, which I am holding solely as an offset to
             Murphree’s monetary liability for the Receivership Estate’s claims against him.

        •    Oral argument in Butler Snow’s appeal will be July 2, 2020 and will be conducted via
             video conference. A recording of the oral argument will be made available later the
             same day. I will post a link to the recording at madisontimberreceiver.com.

        •    I retained a broker to market nationally the largest of Oxford Springs’s two tracts.
             That listing is available at https://www.outdoorproperties.com/listings/oxford-springs/
             and has resulted in recent showings.




                                                                                                      3
     Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 4 of 17




Criminal cases’ status

           United States v. Adams, No. 3:18-cr-88

           Lamar Adams is serving a 19.5-year sentence in federal prison. On June 15, 2020, victims
received a notice stating that Adams has asked for compassionate release. The notice and Adams’s
motion are available at madisontimberreceiver.com.

           Victims should contact the U.S. Attorney’s Office to share their opinion on Adams’s
release. The notice that victims received includes contact information for persons in that office
and requests comments no later than June 29, 2020.

           I strongly encourage victims to contact the U.S. Attorney’s Office directly to share their
opinion on Adams’s release or on any other matter for which the U.S. Attorney’s Office is
responsible. If victims still have questions, they may always contact me.


           United States v. McHenry, No. 3:19-cr-20

           Bill McHenry was acquitted on December 5, 2019.

           After Adams, McHenry is the only person to have been charged in connection with the
Madison Timber Ponzi scheme. I am hopeful that criminal authorities are not finished with their
work. Victims are right to expect that criminal authorities will pursue justice in this case.


Civil cases’ status

           Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-252

           The Securities and Exchange Commission’s case against Adams and Madison Timber,
filed April 20, 2018, remains open for the purpose of administering the Receivership Estate’s
affairs.

           On April 23, 2020, the Court entered an order reiterating the stay of litigation against
Adams, Madison Timber, and their agents pending the Receivership Estate’s administration, but




                                                                                                   4
     Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 5 of 17




lifting the stay of litigation against Mike Billings and Bill McHenry.1 Any party wishing to file a
lawsuit against Billings, McHenry, or their companies may now do so.


        Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679
        Related: In re William B. McHenry, Jr., No. 20-bk-268; No. 20-ap-22

        The complaint against Mike Billings, Wayne Kelly, and Bill McHenry, filed October 1,
2018, alleged they received millions of dollars in “commissions” in exchange for their recruitment
of new investors to Madison Timber. Wayne Kelly and Mike Billings settled with the Receivership
Estate. I obtained a final judgment against Bill McHenry in the amount of $3,473,320.2

        McHenry has not paid the judgment. To avoid a judgment debtor examination, on January
27, 2020, he filed a Chapter 7 petition for bankruptcy.3 By filing his petition for bankruptcy, he
triggered an automatic stay of litigation against him. The result is that I cannot collect the
$3,473,320 judgment against McHenry while his bankruptcy proceedings are pending.

        I have participated in McHenry’s bankruptcy proceedings in order to protect the
Receivership Estate’s interests. On April 23, 2020, I filed an adversary complaint that objects to
the discharge of his debt to the Receivership Estate on the basis, among others, that the debt flows
from his false pretenses, false representations, and fraud.4

        On May 8, 2020, I obtained a court order requiring McHenry to make a full disclosure of
his finances by producing numerous documents requested of him. He has not complied with the
court order. On June 26, 2020, I filed a motion to hold him in contempt.


        Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866
        Related: In re Jon Darrell Seawright, No. 19-bk-3921; No. 20-ap-11; No. 20-cv-232

        The complaint against Butler Snow LLP; Butler Snow Advisory Services, LLC; Matt
Thornton; Baker, Donelson, Bearman, Caldwell & Berkowitz, PC; Alexander Seawright, LLC;


1
  Doc. 200, Securities & Exchange Commission v. Arthur Lamar Adams and Madison Timber Properties, LLC, No.
3:18-cv-252 (S.D. Miss).
2
  Docs. 62, 63, Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679 (S.D. Miss).
3
  Doc. 1, In re: William Byrd McHenry, Jr., No. 20-bk-268 (Bankr. S.D. Miss).
4
  Doc. 1, Alysson Mills v. William Byrd McHenry, Jr., No. 20-ap-22 (Bankr. S.D. Miss).
                                                                                                         5
        Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 6 of 17




Brent Alexander; and Jon Seawright, originally filed December 19, 2018, alleges the law firms
and their agents lent their influence, their professional expertise, and even their clients to Adams
and Madison Timber. None of the defendants has settled with the Receivership Estate. On
November 22, 2019, I filed an amended complaint.

           On April 22, 2020, the Court announced that it would hold a settlement conference on May
27, 2020. All parties except the Butler Snow defendants attended. The settlement conference did
not result in a settlement between any parties.

           Butler Snow: The Butler Snow defendants filed a motion to dismiss in which they argued
that the case against them should be submitted to private arbitration. After the Court denied Butler
Snow’s motion to dismiss,5 Butler Snow appealed to the Fifth Circuit. The parties’ filings in that
court are available at madisontimberreceiver.com. Oral argument will be July 2, 2020 and will be
conducted via video conference. A recording of the oral argument will be made available later the
same day at http://www.ca5.uscourts.gov/oral-argument-information/oral-argument-recordings;
the appeal’s title is Mills v. Butler Snow, et al. and its docket number is 19-60749. I will post a
link to the recording at madisontimberreceiver.com when it is available.

           Baker Donelson: Baker Donelson filed a motion to dismiss the amended complaint on
December 20, 2019, and I filed the Receivership Estate’s response on January 10, 2020. Those
filings are available at madisontimberreceiver.com.

           Alexander Seawright: The Alexander Seawright defendants also filed a motion to dismiss
the amended complaint on December 20, 2019, and I filed the Receivership Estate’s response on
January 10, 2020. Those filings are available at madisontimberreceiver.com.

           Jon Seawright: Seawright filed a Chapter 7 petition for bankruptcy on November 3, 2019.6
By filing his petition for bankruptcy, Seawright triggered an automatic stay of litigation against
him. The result is that I cannot litigate the Receivership Estate’s claims against Seawright while
his bankruptcy proceedings are pending.




5
    Doc. 48, Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866 (S.D. Miss).
6
    Doc. 1, In re: Jon Darrell Seawright, No. 19-bk-3921 (Bankr. S.D. Miss).
                                                                                                  6
        Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 7 of 17




           I have participated in Seawright’s bankruptcy proceedings in order to protect the
Receivership Estate’s interests. On February 7, 2020, I filed an adversary complaint that objects
to the discharge of Seawright’s debt to the Receivership Estate on the basis that the debt flows
from his false pretenses, false representations, and fraud,7 and on March 16, 2020, I filed a motion
to withdraw the reference—that is, to transfer the complaint from the bankruptcy court to the
district court. The district court granted that motion on May 12, 2020.8

           Seawright filed a motion to dismiss the adversary complaint on April 30, 2020, and I filed
the Receivership Estate’s response on May 28, 2020. Those filings are available at
madisontimberreceiver.com.


           Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

           The complaint against BankPlus; BankPlus Wealth Management, LLC; Gee Gee Patridge,
Vice President and Chief Operations Officer of BankPlus; Stewart Patridge; Jason Cowgill; Martin
Murphree; Mutual of Omaha Insurance Company; and Mutual of Omaha Investor Services, Inc.,
filed March 20, 2019, alleges the financial institutions and their agents lent their influence, their
professional services, and even their customers to Madison Timber, establishing for it a de facto
DeSoto County headquarters within BankPlus’s Southaven, Mississippi branch office. None of the
defendants has settled with the Receivership Estate.

           Murphree and Stewart Patridge, former agents of BankPlus and Mutual of Omaha, filed
answers to the complaint. BankPlus; Gee Gee Patridge, Vice President and Chief Operations
Officer of BankPlus; Cowgill, a former manager of BankPlus’s Southaven, Mississippi branch;
and Mutual of Omaha all filed motions to dismiss the claims against them, which I opposed. The
answers, motions, and related filings are available at madisontimberreceiver.com.

           On March 20, 2020, the Court held a telephonic status conference during which it inquired
whether the legal issues raised by the defendants’ motions to dismiss are similar to the legal issues
raised by defendants in other of the Receivership Estate’s lawsuits. After, on March 31, 2020, the



7
    Doc. 1, Alysson Mills v. Jon Darrell Seawright, No. 20-ap-11 (Bankr. S.D. Miss).
8
    Doc. 12, Alysson Mills v. Jon Darrell Seawright, No. 20-cv-232 (S.D. Miss).
                                                                                                   7
        Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 8 of 17




Court entered an order “temporarily staying this case pending a ruling on the outstanding motions
in Mills v. Baker Donelson et al., No. 3:18-cv-866.”

           Since then, Murphree has done something no other defendant has done: attempted to
voluntarily repay the Receivership Estate without any guarantee of a release of any claims against
him. I recently have received three checks, each in the amount of $800.00, which I am holding
solely as an offset to Murphree’s monetary liability for the Receivership Estate’s claims against
him.


           Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

           The complaint against The UPS Store, Inc.; Herring Ventures, LLC d/b/a The UPS Store;
Austin Elsen; Tammie Elsen; Courtney Herring; Diane Lofton; Chandler Westover; Rawlings &
MacInnis, PA; Tammy Vinson; and Jeannie Chisholm, filed May 23, 2019 and amended June 13,
2019, alleges the defendants are the notaries and their employers on whom Lamar Adams
principally relied to notarize fake timber deeds. None of the defendants has settled with the
Receivership Estate.

           Herring Ventures, LLC d/b/a The UPS Store; Austin Elsen; Tammie Elsen; Courtney
Herring; Diane Lofton filed answers to the complaint. The UPS Store, Inc.; Rawlings & MacInnis,
PA; Tammy Vinson; and Jeannie Chisholm filed answers to the complaint after the Court denied
their motions to dismiss. The answers are available at madisontimberreceiver.com.

           The Court has ordered the parties to proceed with discovery, “which in a case about
notarization should not be overly complex.”9

           On December 13, 2019, I filed a motion for protective order that asks the Court to order
the defendants to treat victims’ names and identifying information as confidential. As of this filing,
the Court had not addressed the motion for protective order. The motion and related filings are
available at madisontimberreceiver.com.




9
    Doc. 49, Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364 (S.D. Miss).
                                                                                                    8
     Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 9 of 17




        Securities & Exchange Commission v. Kelly, et al., No. 3:19-cv-585

        On August 27, 2019, the Securities and Exchange Commission obtained a judgment against
Kelly permanently enjoining him from further violations of federal securities laws; disgorging his
ill-gotten gains, in an amount to be determined; and ordering that he pay civil penalties, in an
amount to be determined.10


        Alysson Mills v. Trustmark, et al., No. 3:19-cv-941

        On December 30, 2019, I filed a complaint against Trustmark National Bank, Bennie Butts,
Jud Watkins, Southern Bancorp Bank, and RiverHills Bank—financial institutions and
professionals who provided banking services that enabled and sustained the Madison Timber Ponzi
scheme.

        Trustmark National Bank, Bennie Butts, Southern Bancorp Bank, and RiverHills Bank
each filed a motion to dismiss, and Jud Watkins filed a motion to compel arbitration, on April 30,
2020. I filed the Receivership Estate’s responses on May 21, 2020. Those filings are available at
madisontimberreceiver.com.


        Securities & Exchange Commission v. Billings, et al., No. 3:20-cv-50

        On March 3, 2020, the Securities and Exchange Commission obtained a judgment against
Mike Billings permanently enjoining him from further violations of federal securities laws;
disgorging his ill-gotten gains, in an amount to be determined; and ordering that he pay civil
penalties, in an amount to be determined.11


        Alysson Mills v. Stuart Anderson, et al., No. 3:20-cv-427

        On June 25, 2020, I filed a complaint against Stuart Anderson, Randy Shell, and Shell
Investments, LLC. The complaint alleges the defendants identified new investors for Madison
Timber, and for each investment made by an investor he personally recruited, each defendant


10
   Docs. 5, 6, Securities and Exchange Commission v. Terry Wayne Kelly and Kelly Management, LLC, No. 3:19-cv-
585 (S.D. Miss.).
11
   Doc. 1, Securities and Exchange Commission v. Michael Douglas Billings and MDB Group, LLC, No. 3:20-cv-50
(S.D. Miss.).
                                                                                                            9
    Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 10 of 17




received a cut of the investor’s payment to Madison Timber. Over time, the defendants received
more than $635,000 in Madison Timber “commissions.” The complaint is available at
madisontimberreceiver.com.


Receiver’s actions (past 60 days and next 60 days)


       Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679
       Related: In re William B. McHenry, Jr., No. 20-bk-268; No. 20-ap-22

       I have fought and will continue to fight any bankruptcy discharge of McHenry’s
$3,473,320 debt to the Receivership Estate on the basis, among others, that the debt flows from
his false pretenses, false representations, and fraud. On June 26, 2020, I filed a motion to hold
McHenry in contempt for failing to disclose documents pertaining to his finances.


       Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866
       Related: In re Jon Darrell Seawright, No. 19-bk-3921; No. 20-ap-11; No. 20-cv-232

       I have litigated and will continue to litigate while awaiting the Court’s rulings on motions
to dismiss filed by Baker Donelson and Alexander Seawright and the Fifth Circuit’s decision in
Butler Snow’s appeal. On May 27, 2020, I participated in a settlement conference attended by all
parties except the Butler Snow defendants. Oral argument in Butler Snow’s appeal will be July 2,
2020 via video conference and I will post a link to the recording at madisontimberreceiver.com.

       I also have fought and will continue to fight any bankruptcy discharge of Seawright’s debt
to the Receivership Estate on the basis that the debt flows from his false pretenses, false
representations, and fraud. On May 28, 2020, I filed a response to his motion to dismiss the
Receivership Estate’s adversary complaint against him.


       Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

       I continue to await the Court’s rulings on the motions to dismiss filed by BankPlus; Gee
Gee Patridge, Vice President and Chief Operations Officer of BankPlus; Jason Cowgill; and




                                                                                                10
    Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 11 of 17




Mutual of Omaha. As noted above, the Court entered an order “temporarily staying this case
pending a ruling on the outstanding motions in Mills v. Baker Donelson et al., No. 3:18-cv-866.”


       Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

       I have litigated and will continue to litigate while awaiting the Court’s ruling on a motion
for protective order that I filed that asks the Court to order the defendants to treat victims’ names
and identifying information as confidential.


       Alysson Mills v. Trustmark, et al., No. 3:19-cv-941

       On May 21, 2020, I filed responses to the motions to dismiss filed by Trustmark National
Bank, Bennie Butts, Southern Bancorp Bank, and RiverHills Bank and the motion to compel
arbitration filed by Jud Watkins. On June 12, 2020, I filed an additional response to Watkins’s
motion. I will continue to litigate while awaiting the Court’s rulings.


       Alysson Mills v. Stuart Anderson, et al., No. 3:20-cv-427

       On June 25, 2020, I filed a complaint against Stuart Anderson, Randy Shell, and Shell
Investments, LLC that seeks to recover the more than $635,000 in Madison Timber “commissions”
they received. I expect the defendants’ responses in the next thirty days and I will respond
accordingly.


       “Commissions,” gifts, and proceeds

       I have accounted and will continue to account for “commissions” paid by Adams, Madison
Timber, or Wayne Kelly to individuals in exchange for their assistance in recruiting new investors
to the Madison Timber Ponzi scheme and to account for gifts that Adams or Kelly made with
proceeds from Madison Timber. My practice has been to contact individuals who received
“commissions,” gifts, or proceeds and offer to negotiate repayment, provided the individual agrees
to make complete financial disclosures. Most individuals have cooperated. Stuart Anderson did
not, and on June 25, 2020, I filed a complaint against him (and others, as noted above).




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    Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 12 of 17




       Records

       To date I have reviewed records from Wayne Kelly, Mike Billings, Alexander Seawright,
Brent Alexander, Jon Seawright, First Bank of Clarksdale, Southern Bancorp, River Hills Bank,
Community Bank, Jefferson Bank, Trustmark Bank, BankPlus, Southern AgCredit, Adams’s and
Madison Timber’s accounting firm, Butler Snow, Rawlings & MacInnis, Madison Trust Company
(no relation to Madison Timber), Pinnacle Trust, and The UPS Store. I continue to request and
review additional records as necessary to assess the Receivership Estate’s rights against third
parties that had professional relationships with Adams or Madison Timber.


       LLCs of which Adams was a member

       Of the six active limited liability companies (“LLCs”) of which Adams was a member, the
Receivership Estate has already resolved its interests in 707, LLC; Delta Farm Land Investments,
LLC; KAPA Breeze, LLC; and Mallard Park, LLC. For the two remaining LLCs, my intent is to
monetize the Receivership Estate’s interest to maximize value to the Receivership Estate.

       Oxford Springs, LLC: The LLC’s principal asset is 2,300+/- acres of undeveloped land in
Lafayette County, Mississippi. Today the Receivership Estate owns a 100% interest in Oxford
Springs, debt-free, and will retain all proceeds from the future sale of the LLC’s property. After a
proposed sale failed late last year, I undertook several cost-effective improvements to maximize
the property’s value. I retained a broker to market nationally the largest of the property’s two
tracts. That listing is available at https://www.outdoorproperties.com/listings/oxford-springs/ and
has resulted in recent showings.

       MASH Farms, LLC: The LLC’s principal asset is 808+ acres with a hunting camp in
Sunflower County, Mississippi. I obtained an appraisal of that property and had preliminary
negotiations with the LLC’s other members regarding the purchase of the Receivership Estate’s
25% interest. I will continue to consider a sale to the LLC’s other members but I will consider any
offer by any party that I believe is fair, and I encourage interested parties to contact me directly
(504-586-5253).




                                                                                                 12
    Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 13 of 17




       Federal and state authorities

       I continue to confer with federal and state authorities, including the FBI, the Securities and
Exchange Commission, the U.S. Attorney’s Office, the Mississippi Secretary of State’s Office,
and the Mississippi Department of Banking and Consumer Finance regarding matters bearing on
the Receivership Estate.


       Investors

       I continue to communicate with investors in Madison Timber via phone, letter, email, and
in-person meetings. I speak to investors almost daily. Investors provide information that is useful
to my investigation and, in turn, I hope that I demystify the receivership process for them.


       Persons with knowledge

       I continue to speak to persons with first-hand knowledge of matters bearing on the
Receivership Estate.


       Other third parties

       My colleagues and I continue to research legal claims against third parties as new facts are
discovered. I do not publish our assessments here because to do so would be to telegraph our legal
strategies to future defendants. I intend to file additional lawsuits against third parties that
contributed to the debts of Madison Timber, and therefore to the debts of the Receivership Estate,
so long as new information justifies it.




                                                                                                  13
    Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 14 of 17




Summary of status of assets

        My end goal is to make an equitable distribution to victims with the money I recover.
Although I continue to recover money from various third parties, the money that I have recovered
to date still would not go far. As I have advised, it may take a long time and a lot of work to recover
enough money to make a meaningful distribution, but I am committed to pursuing recoveries for
the benefit of victims so long as the Court allows. The Receivership Estate’s most valuable assets
are the lawsuits it has filed or intends to file.

        The current status of the Receivership Estate’s assets is as follows:


Receivership Estate’s account at Hancock Bank                          current balance $6,475,431.22
Previous balance as of April 27, 2020                 $6,685,910.56
Interest                                                 +$3,770.69
Martin Murphree’s voluntary repayments                   +$2,400.00
CPA fees                                                 -$1,835.00
Counsel’s fees and expenses**                          -$214,815.03

Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866                        litigation ongoing
Lawsuit to hold law firms liable for debts of the Receivership
Estate

Alysson Mills v. BankPlus, et al., No. 3:19-cv-196                          litigation ongoing
Lawsuit to hold bank and financial services company liable for
debts of the Receivership Estate

Martin Murphree’s voluntary repayment of his debt to the                     holding $2,300
Receivership Estate, three installments of $800.00 each to date*

Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364                litigation ongoing
Lawsuit to hold notaries liable for debts of the Receivership Estate

Alysson Mills v. Trustmark, et al., No. 3:19-cv-941                          litigation ongoing
Lawsuit to hold banks liable for debts of the Receivership Estate

Alysson Mills v. Stuart Anderson, et al., No. 3:20-cv-427                     litigation ongoing
Lawsuit to recover commissions from recruiters

Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679               $3,473,320 judgment
Lawsuit to recover commissions from recruiters                                against McHenry
                                                                               settlements with
                                                                              Billings and Kelly
                                                                                  (see below)

                                                                                                       14
    Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 15 of 17



Settlement—Mike Billings                                               received $325,000
                                                                       plus 5% interest in
                                                                      Oxford Springs, LLC
                                                                 promissory note in the original
                                                                  principal amount of $500,000
                                                                           outstanding
                                                                     duty to restate taxes,
                                                                  with 90% of any refunds to
                                                                     Receivership Estate

Settlement—Wayne Kelly                                               received $1,384,435.17
                                                                 plus interests in 707, 315 Iona,
                                                                    and KAPA Breeze, LLCs
                                                                      received $100,000 in
                                                                 satisfaction of promissory note
                                                                     duty to restate taxes,
                                                                  with 90% of any refunds to
                                                                     Receivership Estate

 1/4   Mash Farms, LLC                                                  assessing options
       808+ acres with hunting camp in Sunflower County
       Purchased in 2014 for $1,600,000
       Encumbered by Trustmark Bank mortgage
       Owe approximately $900,000

100% Oxford Springs, LLC                                                     for sale
     2,300+/- acres undeveloped land in Lafayette County
     Unencumbered

 1/6   707, LLC                                                   LLC sold principal asset and
       263+ acres recreational land in Holmes County             dissolved; tendered $6,994.09
       Purchased in 2009                                       representing Adams’s, Kelly’s, and
       Encumbered by First Commercial Bank mortgage                  McHenry’s interests to
       Owe approximately $368,000                                   the Receivership Estate

 1/3   Delta Farm Land Investments, LLC                           LLC sold principal asset and
       1170+ acres farmland in Oktibbeha County                 dissolved; tendered $323,440.88
       Purchased in 2014 for $2,796,100                         representing Adams’s interest to
       Encumbered by Trustmark Bank mortgage                         the Receivership Estate
       Owe approximately $2,200,000

 1/2   KAPA Breeze LLC                                           sold the Receivership Estate’s
       1.5+/- acres mixed-use land on Highway 30A in Florida         interest for $700,000
       Purchased in 2017 for approximately $1,900,000
       Encumbered by Jefferson Bank mortgage
       Owe approximately $1,365,000



                                                                                                  15
    Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 16 of 17



 1/4      Mallard Park, LLC                                       sold the Receivership Estate’s
          1,723 acres with hunting lodge in Humphreys County          interest for $175,000
          Purchased in 2016 for $2,593,500
          Encumbered by Southern AgCredit mortgage
          Owe approximately $2,000,000

Hartford Life and Annuity Insurance Co. life insurance policy      surrendered for $167,206.60

Lincoln National Life Insurance Co. life insurance policy           surrendered for $3,678.45

Settlement—Frank Zito                                                    received $100,000,
                                                                           first installment
                                                                    received $100,000, second
                                                                      and final installment,
                                                                          June 12, 2019

Settlement—Ole Miss Athletics Foundation                             received $155,084.50,
                                                                        first installment
                                                                     received $155,084.50,
                                                                  second and final installment,
                                                                         April 17, 2019

Marital Property Settlement—Vickie Lynn Adams                           received $58,247
Lump sum payment includes proceeds from sale of Lexus LX 570
and liquidation of Hartford Life and Annuity Insurance Co. life
insurance policy

Settlement—Adams children                                              received $170,000

Alexander Seawright—UPS’s funds*                                        holding $100,000

2018 King Ranch Ford F150 truck                                         sold for $42,750

Condo in Calton Hill subdivision in Oxford, Mississippi               received $139,919.09
Unencumbered                                                          in proceeds from sale

Settlement—Philippi Freedom Ministries                                  received $16,125

Settlement—Rick Hughes Evangelistic Ministries                        received $43,657.95

Jewelry                                                                      for sale


House at 134 Saint Andrews Drive, Jackson, Mississippi                received $350,777.38
Unencumbered                                                          in proceeds from sale
                                                                       received $3,277.45
                                                                  from sale of household goods
                                                                         on consignment



                                                                                                   16
    Case 3:18-cv-00252-CWR-FKB Document 204 Filed 06/26/20 Page 17 of 17



Settlement—Century Club Charities                                                 received $56,944


Settlement—Berachah Church                                                       received $175,904


Settlement—R.B. Thieme, Jr.                                                    received $104,626.50


Settlement—Operation Grace World Missions                                         received $39,325


Returned proceeds—Techwood, LLC                                                  received $309,000


Strikethrough indicates asset has been liquidated or proceeds are already accounted for in the Hancock
Bank account balance.

*I am holding these funds solely as an offset to the defendant’s liability for the Receivership Estate’s
claims.

**Please see the Court’s order dated May 19, 2020, and previously filed fee applications for the eight
months’ work performed between August 2019 and March 2020, all available at
madisontimberreceiver.com.




                                                                                                           17
